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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CAGLAYAN KAYA GOKSOY,

       Plaintiff,                                           Case No.: 1:24-cv-08061

v.                                                          Judge Jeffrey I. Cummings

THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge M. David Weisman
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                5                                GAIWEIZHENGXIONG
                17                                        SiuSue
                24                                       wall 1517
                14                               chen jian Morning poster
                26                                        Xhdxd
                31                                       Benjia Inc


DATED: October 17, 2024                             Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-971-6752
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-08061 Document #: 28 Filed: 10/17/24 Page 2 of 2 PageID #:683




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 17, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
